                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                         DOCKET NO. 3:14-cr-00179-MOC-DCK

UNITED STATES OF AMERICA,                        )
                                                 )
                                                 )
                                                 )
Vs.                                              )                   ORDER
                                                 )
UBALDO GARCIA,                                   )
                                                 )
                 Defendant.                      )



         THIS MATTER is before the court on defendant’s Motion to Revoke Detention Order.

Having considered defendant’s motion and reviewed the pleadings, the court enters the following

Order.

                                           ORDER

         IT IS, THEREFORE, ORDERED that the Clerk of Court calendar defendant’s Motion

to Revoke Detention Order (#20) for hearing.

                              Signed: October 14, 2014




         Case 3:14-cr-00179-MOC         Document 26      Filed 10/14/14    Page 1 of 1
